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15                                   UNITED STATES DISTRICT COURT

16                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

17                                        SAN FRANCISCO DIVISION

18    AMERICAN FEDERATION OF                                  Case No. 3:25-cv-01780-WHA
      GOVERNMENT EMPLOYEES, AFL-CIO;
19                                                            ADMINISTATIVE MOTION TO FILE
      AMERICAN FEDERATION OF STATE
      COUNTY AND MUNICIPAL EMPLOYEES,                         UNION MEMBER LIST UNDER SEAL
20
      AFL-CIO, et al.,                                        Hon. William H. Alsup
21
               Plaintiffs,
22
          v.
23

24    UNITED STATES OFFICE OF PERSONNEL
      MANAGEMENT, et al.,
25
               Defendants.
26
27

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     Plaintiffs’ Admin Mot. to File Union Member Lists of Employees Under Seal, Case No. 25-cv-017580-WHA
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 1           Pursuant to Civil Local Rule 7-11 and 79-5(c), Plaintiffs move to file under seal an

 2   unredacted copy of the union-member information the Court ordered to be filed follow the hearing

 3   held in this matter on April 9, 2025. See Dkt. 189. Plaintiffs are requesting permission to submit this

 4   information under seal because it contains the personal identifying information (“PII”) of union

 5   members that should remain confidential. Redacted copies will be filed on the public docket.

 6           Courts in this District have routinely ordered the sealing of third party PII. See, e.g.,

 7   Opperman v. Path, Inc., No. 13-cv-453, 2017 WL 1036652, at *4 (N.D. Cal. Mar. 17, 2017) (exhibit

 8   containing “the names, email addresses, and phone numbers” of parties not listed in the lawsuit

 9   provided “compelling reasons to seal [it] in its entirety”). Here, the union members identified in the

10   documents to be filed under seal are not named parties to this litigation and have their own privacy

11   interests; there is no need for public disclosure of their identities or their PII at this point in the

12   proceeding. See, e.g. Foltz v. State Farm Mut. Auto Ins. Co., 331 F.3d 1122, 1137 (9th Cir. 2003)

13   (recognizing the need to protect “privacy interests” in “personnel records.”). If sealing were denied,

14   the names and PII of union members would be exposed to public attention in this high profile

15   litigation. And because the Court’s order specifically required the submission of union-member PII,

16   see Dkt. 189, no less-restrictive alternative is sufficient to protect union members’ privacy interests.

17           Therefore, Plaintiffs respectfully request that this Court grant this Motion and permit an

18   unredacted copy of the following documents to be filed under seal:

19           1. Exhibit 1 to the Supplemental Declaration of Amelia Glymph

20           2. Exhibit 1 to the Supplemental Declaration of Kory Blake

21
     DATED: April 11, 2025                            Scott A. Kronland
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     Plaintiffs’ Admin Mot. to File Union Member Lists of Employees Under Seal, Case No. 25-cv-017580-WHA   3
